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                                                      by Clerk
                                                      U.S. Bankruptcy Court
                                                      District of New Jersey
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